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June 21, 2021

Clerk of Court
United States District Court
For the Western District of Kentucky

RE: In the Matter of the Complaint of Eric Yaeger, as Owner and
Operator of the 2017 Sea Doo RXT-X 300 Personal Watercraft Bearing
identification No, YDV10433B717, Praying for Exoneration From or
Limitation of Liability

Dear Sirs:

In order for Eric Yaeger, as owner and operator of the 2017 Sea Doo
RXT-X 300 Personal Watercraft bearing Identification No. YDV10433B717
(hereinafter referred to as “2017 Sea Doo Personal Watercraft’) to file an action
for exoneration from or limitation of liability in connection with the incident more
particularly described in the Complaint on file herein, as required by 46 U.S.C.
Sec. 30501 et seg., we GEICO MARINE INSURANCE COMPANY (hereinafter
referred to as “Underwriters”) hereby agree to the following undertaking:

1. To cause to be filed in connection with the above-described
incident an action for exoneration from or limitation of liability in a United
States District Court of competent jurisdiction and venue on behalf of the
owner and operator of the 2017 Sea Doo Personal Watercraft.

2. Upon demand, Underwriters shall, in accordance with and
strictly subject to the terms, conditions and limits of their insurance policy,
cause to be filed in said action, a surety bond or other security acceptable
to the Court, in the amount of FOURTEEN THOUSAND SIX HUNDRED
FIFTY AND 00/100 ($14,650.00) DOLLARS, with annual interest at six
percent (6%) thereon from the date hereof, to satisfy all statutory
requirements in said action described in Paragraph 1 above. In no event,
however, will Underwriters be responsible for payments in excess of the
available limits of the relevant insurance policy. In the event that the bond
or other security referred to in this paragraph is filed, the undersigned
insurers shall have no further obligation under this Letter of Undertaking.

 
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3. In the event a final decree (after appeal, if any) is entered
against the owner and operator of the 2017 Sea Doo Personal Watercraft
as a result of claims arising out of the above-described incident,
Underwriters agrees to pay and satisfy up to and not exceeding the total
sum of FOURTEEN THOUSAND SIX HUNDRED FIFTY AND 00/100
($14,650.00) DOLLARS, with annual interest at six percent (6%) thereon
from the date hereof, or any lesser amount decreed by the Court or settled
between the parties, where said settlement has been made with the
approval of the Underwriters, without any final decree being rendered.

4, Notwithstanding any of the foregoing, the liability of
Underwriters pursuant to this Letter of Undertaking shall be strictly subject
to the terms, limits and conditions of the relevant insurance policy.

5. This letter is to be binding whether the 2017 Sea Doo
Personal Watercraft is lost at sea or not lost, in port or not in port, and is
given without prejudice to any rights or defenses which the 2017 Sea
Personal Watercraft and/or its owner and operator and/or Underwriters
may have under any applicable law or statute, none of which are to be
regarded as waived. The giving of this Letter of Undertaking is not to be
deemed or taken to be or accepted as an admission of liability on behalf of
the 2017 Sea Doo Personal Watercraft and/or its owner and operator.

6. The signing of this Letter of Undertaking by the duly

authorized representative below shall not be construed as binding an the
representative personally, but is to be binding only upon Underwriters.

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IN WITNESS WHEREOF, Underwriters have caused these
presents to be duly executed on their behalf by the undersigned duly
authorized representative of GEICO MARINE INSURANCE COMPANY.

Yours very truly,

UNDERWRITERS:
-
Li,
By, YVUe&er

GEICO MARINE INSURANCE COMPANY
Authorized Signature for Assurer

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